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                                   United States District Court
                                    Eastern District of Texas
                                        Sherman Division
     Guy Serrano,                               §
                                                §
           Plaintiff,                           §
     v.                                         §             Case No. 4:17-cv-212
                                                §
     24 Hour Fitness USA, Inc.,                 §
           Defendant.                           §



                        AGREED ORDER OF DISMISSAL WITH PREJUDICE

          ON THIS DAY, Plaintiff Guy Serrano and Defendant 24 Hour Fitness USA, Inc.

    appeared and through their respective counsel of record, informed the Court that all

    of Plaintiff's claims against Defendant has been resolved and a settlement reached;

          IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that Plaintiff's

    causes of action be dismissed with prejudice against the re-filing of same, that all costs

.   be paid by the party incurring same, and that any and all relief not expressly

    granted herein is expressly denied.

          The Clerk is directed to close this civil action.

          IT IS SO ORDERED.
           SIGNED this 18th day of January, 2018.




                                       ___________________________________
                                       AMOS L. MAZZANT
                                       UNITED STATES DISTRICT JUDGE
